                 Case 23-10831-MFW              Doc 1002       Filed 02/21/24        Page 1 of 2

                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE
    In re:                                                  Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
             Debtors.
                                                            Related Docket No. 937


       CERTIFICATE OF NO OBJECTION REGARDING SIXTH MONTHLY APPLICATION
        OF TROUTMAN PEPPER HAMILTON SANDERS LLP FOR COMPENSATION FOR
       SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL FOR
         THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
          FROM DECEMBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

                   The undersigned hereby certifies that she has received no formal or informal

objection or response to the Sixth Monthly Application of Troutman Pepper Hamilton Sanders LLP

for Compensation for Services Rendered and Reimbursement of Expenses as Counsel for the

Official Committee of Unsecured Creditors for the Period from December 1, 2023 Through and

Including December 31, 2023 [Docket No. 937] (the “Application”) filed by Troutman Pepper

Hamilton Sanders LLP (“Troutman Pepper”) on January 30, 2024. The undersigned further

certifies that she has reviewed the docket in these cases and that no objection or response to the

Application appears thereon. The notice attached to the Application established a deadline of

February 20, 2024 at 4:00 p.m. (Eastern Time) for filing and service of objections or responses to

the Application.

                   Accordingly, pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181], the above-captioned debtors and debtors in possession are authorized

to pay Troutman Pepper a total of $90,627.80, which represents (i) $90,420.00 in fees [80% of the




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
               Case 23-10831-MFW               Doc 1002        Filed 02/21/24         Page 2 of 2

total fees $113,025.002] plus (ii) $207.80 in expenses [100%] requested in the Application upon

the filing of this certificate and without the need for entry of a Court order approving the

Application.

Dated: February 21, 2024                         Respectfully submitted,
Wilmington, Delaware
                                                 TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                  /s/ Tori L. Remington
                                                 David M. Fournier (DE 2812)
                                                 Tori L. Remington (DE No. 6901)
                                                 Hercules Plaza, Suite 5100
                                                 1313 N. Market Street, Suite 5100
                                                 Wilmington, DE 19801
                                                 Telephone: (302) 777-6500
                                                 Email: david.fournier@troutman.com
                                                          tori.remington@troutman.com
                                                 -and-
                                                 Francis J. Lawall (admitted pro hac vice)
                                                 3000 Two Logan Square
                                                 18th & Arch Streets
                                                 Philadelphia, PA 19103-2799
                                                 Telephone: (215) 981-4451
                                                 Fax: (215) 981-4750
                                                 Email: francis.lawall@troutman.com
                                                 -and-
                                                 Deborah Kovsky-Apap (admitted pro hac vice)
                                                 875 Third Avenue
                                                 New York, NY 10022
                                                 Telephone: (212) 808-2726
                                                 Fax: (212) 704-6288
                                                 Email: deborah.kovsky@troutman.com
                                                 -and-
                                                 Sean P. McNally (admitted pro hac vice)
                                                 4000 Town Center, Suite 1800
                                                 Southfield, MI 48075
                                                 Telephone: (248) 359-7317
                                                 Fax: (248) 359-7700
                                                 Email: sean.mcnally@troutman.com
                                                 Counsel to the Official Committee of Unsecured
                                                 Creditors

2
    Troutman Pepper reserves its right to seek payment of its fees at the non-discounted rate pursuant to the terms
    of our retention.
                                                         -2-
